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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
AMERICANS FOR PROSPERITY             )
FOUNDATION                           )
                                     )
            Plaintiff,               )
                                     )
      v.                             )    Civil Action No. 21-2021 (CJN)
                                     )
CENTERS FOR MEDICARE AND             )
MEDICAID SERVICES,                   )
                                     )
            Defendant.               )
____________________________________)

                                     [PROPOSED] ORDER

       Upon consideration of the parties’ motions, and the entire record herein, it is hereby

ORDERED that Defendant’s motion for summary judgment is DENIED and Plaintiff’s cross-

motion for summary judgment is GRANTED. It is FURTHER ORDERED that Defendant must

produce the responsive record at issue in its entirety to Plaintiff within 20 days of this Order.

       SO ORDERED.



Dated: ____________                            _______________________________

                                               The Honorable Carl J. Nichols
                                               United States District Judge
